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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                  Case No. 1:18-cv-00950-LO-JFA
                v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


                     COX’S OBJECTIONS TO MAGISTRATE JUDGE’S
                             NON-DISPOSITIVE RULING

       Pursuant to Local Civil Rule 72, Federal Rule of Civil Procedure 72(a), and 28 U.S.C.A. §

636, Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) hereby

object to portions of Magistrate John F. Anderson’s February 27, 2019 Order (“Order”) (ECF No.

113). The grounds for this motion are fully set forth in the concurrently-filed memorandum of law.



Dated: March 13, 2019

                                                     Respectfully submitted,

                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     WINSTON & STRAWN LLP
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC




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Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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                                CERTIFICATE OF SERVICE

I hereby certify that on March 13, 2019, the foregoing was filed and served electronically by the
Court’s CM/ECF system upon all registered users.


                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC




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